     Case 1:25-cv-01405-UNA      Document 10-1   Filed 05/09/25   Page 1 of 53




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                         )
ANGELICA S., et al.,                     )
             Plaintiffs,                 )
                                         )   No. 1:25-cv-01405
v.                                       )
                                         )
U.S. DEPARTMENT OF HEALTH AND            )
HUMAN SERVICES, et al.,
                                         )
             Defendants.                 )
                                         )
______________________________________



     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                    PRELIMINARY INJUNCTION
        Case 1:25-cv-01405-UNA                       Document 10-1                 Filed 05/09/25             Page 2 of 53




                                                  TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 4

   I.     ORR’s Statutory Mandate and Regulations ................................................................... 4

   II. Sponsor Application Process ............................................................................................. 6

          A.Family Reunification Application ................................................................................... 6

          B. Changes to Sponsor Application Proof of Identity Requirements ................................... 7

          C. New Sponsor Proof of Income Requirements ................................................................. 9

          D.Proposed Revisions to Family Reunification Application ............................................. 10

          E. Expanded Collection of Biometric Data on Sponsors ................................................... 11

   III. Information Sharing with DHS ...................................................................................... 12

          A.Prior Information Sharing with DHS............................................................................. 12

          B. Restrictions on Using ORR Data for Immigration Enforcement .................................. 13

ARGUMENT ............................................................................................................................... 14

   I.     Plaintiffs are Likely to Succeed on the Merits .............................................................. 15

          A.The Interim Final Rule is Unlawful and Must be Set Aside .......................................... 15

          B. ORR’s New Sponsor Documentation Requirements Are Unlawful .............................. 27

   II. Plaintiffs are Suffering Irreparable Injury ................................................................... 40

   III. Balance of Harm and Public Interest Favor Plaintiffs ................................................. 42

   IV. Relief Requested .............................................................................................................. 43

CONCLUSION ............................................................................................................................ 45




                                                                     i
        Case 1:25-cv-01405-UNA                           Document 10-1                   Filed 05/09/25               Page 3 of 53




                                                   TABLE OF AUTHORITIES

Cases

* Am. Fed. of Govt. Emps., AFL-CIO v. Block, 655 F.2d 1153 (D.C. Cir. 1981) .................... 16, 21

Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914 (D.C. Cir. 2017) ................................. 20

* Arkema, Inc. v. EPA, 618 F.3d 1 (D.C. Cir. 2010) ................................................................ 38, 39

Barr v. Am. Ass’n of Pol. Consultants, Inc., 591 U.S. 610 (2020) ................................................ 23

Bd. of Cnty. Comm’rs of Weld Cnty. v. EPA, 72 F.4th 284 (D.C. Cir. 2023) .................................. 38

* Bennett v. Spear, 520 U.S. 154 (1997) ....................................................................................... 28

Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S. 103 (1948) ........................................ 28

Consumer Energy Council of Am. v. Fed. Energy Reg. Comm’n, 673 F.2d 425 (D.C. Cir.
  1982), aff’d sub nom. Process Gas Consumers Grp. v. Consumer Energy Council of
  Am., 463 U.S. 1216 (1983) ........................................................................................................ 20

Damus v. Nielsen, 313 F.Supp.3d 317 (D.D.C. 2018) ................................................................... 15

Davenport v. Int’l Brotherhood of Teamsters, 166 F.3d 356 (D.C. Cir. 1999) .............................. 14

De Niz Robles v. Lynch, 803 F.3d 1165 (10th Cir. 2015) ............................................................... 38

* DHS v. Regents of Univ. of Cal., 591 U.S. 1 (2020) ........................................... 20, 23, 27, 33, 36

Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-322, 2025 WL 452707 (D.D.C. Feb. 11,
  2025) .......................................................................................................................................... 37

* FCC. v. Fox Television Stations, Inc., 556 U.S. 502 (2009) ..................................... 27, 33, 34, 36

Fla. Inst. of Tech. v. FCC, 952 F.2d 549 (D.C. Cir. 1992) ............................................................. 28

Gomez v. Trump, 485 F. Supp. 3d 145 (D.D.C. 2020) ................................................................... 14

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   (D.C. Cir. 2005) ......................................................................................................................... 15

* J.E.C.M. v. Lloyd, 352 F. Supp. 3d 559 (E.D. Va. 2018) .......................................... 24, 26, 28, 31




                                                                         ii
        Case 1:25-cv-01405-UNA                           Document 10-1                   Filed 05/09/25               Page 4 of 53




Jacinto-Castanon de Nolasco v. U.S. Immigr. & Customs Enf’t, 319 F. Supp. 3d 491
  (D.D.C. 2018) ............................................................................................................................ 42

Judgment, Lucas R. v. Becerra, No. 18-5741 (C.D. Cal. Sept. 16, 2024), ECF No. 449 .............. 32

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* L.V.M. v. Lloyd, 318 F. Supp. 3d 601 (S.D.N.Y. 2018) ............................................. 24, 28, 31, 36

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Lucas R. v. Becerra, No. 18-5741, 2022 WL 3908829 (C.D. Cal. Aug. 30, 2022) ....................... 32

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* Mack Trucks, Inc. v. EPA, 682 F.3d 87 (D.C. Cir. 2012) ...................................................... 16, 18

Martin v. Hadix, 527 U.S. 343 (1999) ........................................................................................... 38

Milliken v. Bradley, 418 U.S. 717 (1974) ...................................................................................... 44

Moore v. City of E. Cleveland, 431 U.S. 494 (1977) ............................................................... 35, 43

* Motor Vehicles Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29
  (1983) .................................................................................................................................passim

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Ohio v. E.P.A., 603 U.S. 279 (2024) .............................................................................................. 22

Port of Bos. Marine Terminal Ass’n v. Rederiaktiebolaget Transatlantic, 400 U.S. 62
  (1970) ........................................................................................................................................ 28

Public Utilities Comm’n of State of Cal. v. FERC, 988 F.2d 154 (D.C. Cir. 1993)....................... 44

Purdue Univ. v. Scalia, No. CV 20-3006 (EGS), 2020 WL 7340156 (D.D.C. Dec. 14,
  2020) .......................................................................................................................................... 16




                                                                        iii
        Case 1:25-cv-01405-UNA                          Document 10-1                 Filed 05/09/25               Page 5 of 53




Ramirez v. ICE, 471 F. Supp. 3d 88 (D.D.C. 2020) ....................................................................... 31

* Saco River Cellular, Inc. v. FCC, 133 F.3d 25 (D.C. Cir. 1998) ................................................ 37

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* Saravia v. Sessions, 905 F.3d 1137 (9th Cir. 2018) .................................................................... 31

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* United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260 (1954)........................................... 28

United States v. Nixon, 418 U.S. 683 (1974) ................................................................................. 28

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Statutes

44 U.S.C. § 3502 ........................................................................................................................... 37

44 U.S.C. § 3507 ..................................................................................................................... 11, 36

5 U.S.C. § 553 ............................................................................................................. 15, 16, 20, 21

5 U.S.C. § 704 ............................................................................................................................... 27

5 U.S.C. § 705 ............................................................................................................................... 14




                                                                       iv
        Case 1:25-cv-01405-UNA                          Document 10-1                 Filed 05/09/25               Page 6 of 53




5 U.S.C. § 706 ................................................................................................................... 22, 31, 33

5 U.S.C. §§ 702 ............................................................................................................................. 27

6 U.S.C. §§ 279 ........................................................................................................................... 1, 4

8 U.S.C. § 1232 ......................................................................................................................passim

8 U.S.C. § 1373 ....................................................................................................................... 18, 22

Consolidated Appropriations Act, 2020, Pub. L. No. 116-93, 133 Stat. 2317 (2019) ................... 13

Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, 139
  Stat. 9 (2025) ............................................................................................................................. 13

Rules

Unaccompanied Children Foundational Rule, 89 Fed. Reg. 34384 (Apr. 30, 2024) .............passim

Unaccompanied Program Foundational Rule, 88 Fed. Reg. 68908 (Oct. 4, 2023) ....................... 23

Unaccompanied Program Foundational Rule; Update to Accord with Statutory
  Requirements, 90 Fed. Reg. 13554 (Mar. 25, 2025) ................................................................... 2

Regulations

45 C.F.R § 410.1205 ...................................................................................................... 5, 31, 32, 33

45 C.F.R § 410.1205(b) ................................................................................................................. 44

45 C.F.R. § 1202 ...................................................................................................................... 31, 35

45 C.F.R. § 410.1201 ..................................................................................................... 5, 18, 28, 31

5 C.F.R. § 1320.6 ........................................................................................................................... 37

Other Authorities

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  identification-cards/identification-id-cards/ (last visited May 8, 2025) .................................... 30

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  https://perma.cc/DL56-J2TT ..................................................................................................... 17

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  00431, Care Provider Facilities Described Challenges Addressing Mental Health
  Needs of Children in HHS Custody (Sept. 2019) ...................................................................... 12




                                                                       v
        Case 1:25-cv-01405-UNA                         Document 10-1                 Filed 05/09/25              Page 7 of 53




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H.R. Rep., No. 116-450 (2021) ..................................................................................................... 13

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  https://dmv.ny.gov/driver-license/driver-licenses-and-the-green-light-law (last visited
  May 8, 2025) ............................................................................................................................. 30

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  Immigrant Responsibility Act of 1996 and Statutory Requirement for Confidentiality of
  Census Information, 1999 WL 34995963 (O.L.C. May 18, 1999) ........................................... 19

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  Checks and Acceptable Supporting Documentation for a Family Reunification
  Application (Feb. 14, 2025), https://perma.cc/3R26-GK9Y ..................................................... 11

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  (Mar. 14, 2025), https://perma.cc/67MF-ELB8......................................................................... 11

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  (“Policy Guide”) § 2.2.1, https://perma.cc/TZ83-H2PC ............................................... 6, 7, 9, 30

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  Application Packet (OMB # 0970-0278), 90 Fed. Reg. 17438 (Apr. 25, 2025) ....................... 10

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  Educ., & Related Agencies, U.S. House Comm. on Appropriations (Sept. 18, 2019),
  https://www.c-span.org/video/?464368-1/administration-officials-testify-migrant-
  children-mental-health ............................................................................................................... 12

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  https://www.dps.texas.gov/section/driver-license/how-apply-texas-identification-card
  (last visited May 8, 2025) .......................................................................................................... 29

U.S. Citizenship & Immigr. Servs., Temporary I-551 Stamps and MRIVs,
  https://perma.cc/HBL5-CUYT .................................................................................................... 7

UC Program Foundational Rule Update on Info Sharing, https://perma.cc/HB8B-CDZ8 ........... 17

William Kandel, Cong. Rsch. Serv., R43599 Unaccompanied Alien Children: An
 Overview (updated Sept. 2024) ................................................................................................... 5




                                                                      vi
     Case 1:25-cv-01405-UNA            Document 10-1        Filed 05/09/25       Page 8 of 53




                                        INTRODUCTION

       Unaccompanied children fleeing violence and persecution arrive at our borders hoping to

grow up safely in the United States with family. These children are held in the custody of the

Office of Refugee Resettlement (“ORR”) within the Department of Health and Human Services

(“HHS”) while they await release to a sponsor who is willing and able to care for them while

they undergo immigration proceedings. Plaintiff children are suffering unnecessarily

prolonged—and possibly permanent—separation from their parents or other family members

because of new ORR policies promulgated in violation of the Administrative Procedure Act.

       Until recently, ORR’s policies and regulations prioritized releasing children without

unnecessary delay to their parents, legal guardians, or other close relatives, regardless of their

potential sponsor’s immigration status. ORR also assured sponsors—through explicit language

on its application forms and in its policies and regulations—that the extensive personal

information they and their household members provide to ORR would be used only to determine

their ability to care for the child, not for immigration enforcement purposes. These policies

reflect a well-established consensus that it is in children’s best interests to grow up with family

rather than confined in an institution. They also reflect Congress’s deliberate choice to transfer

the care of unaccompanied children out of an immigration enforcement agency—the former

Immigration and Naturalization Service (“INS”)—and to a non-enforcement agency like ORR

with a mandate to make decisions in children’s best interests. 6 U.S.C. §§ 279(a), (b)(1)(B); 8

U.S.C. § 1232(c)(2)(A).

       In early March 2025, ORR abruptly informed sponsors that it would refuse to accept

most of the proof of identification documents listed on its sponsor application form. Contrary to




                                                  1
     Case 1:25-cv-01405-UNA            Document 10-1        Filed 05/09/25      Page 9 of 53




its own regulations prohibiting sponsor denials based solely on immigration status, ORR instead

demanded proof of work authorization or other forms of identification such as State-issued

driver’s licenses that are not generally available to sponsors without stable lawful immigration

status. ORR applied this new policy to all sponsors regardless of their relationship to the child,

including those who had already completed their sponsorship applications and undergone

fingerprint-based background checks.

       Children looking forward to imminent reunification with their family were devastated to

learn that their release processes had been upended overnight. This included many children

expecting release to their parents, such as 14-year-old Eduardo M. and his 7-year-old brother, 15-

year-old Liam W., and 17-year old Xavier L. and his 13-year-old sister. It also included children

whose applications were complete but were just pending medical clearance from ORR, such as

17-year-old Angelica S. and her newborn daughter, and Eduardo M. and his brother. Instead of

benefiting from her sister’s support in caring for her baby, Angelica S. learned that her sister had

been abruptly disqualified and she and her baby no longer had any release options.

       On March 25, 2025, ORR formalized its change in policy and promulgated an Interim

Final Rule (“IFR”) rescinding prior regulatory prohibitions on (1) disqualifying sponsors based

solely on immigration status, (2) collecting sponsor immigration status information for

enforcement purposes, and (3) sharing sponsor immigration status information with enforcement

agencies. See Unaccompanied Program Foundational Rule; Update to Accord with Statutory

Requirements, 90 Fed. Reg. 13554 (Mar. 25, 2025) (to be codified at 45 C.F.R. pt. 410). Despite

representing a significant change in policy with far-reaching consequences for unaccompanied

children, ORR made the IFR effective immediately without first considering notice and




                                                 2
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 10 of 53




comment. ORR’s justification focused only on a purported statutory conflict related to

information sharing and offered no reasoned justification for permitting sponsorship denials

based on immigration status or collecting sponsor information for enforcement purposes.

       In April 2025, ORR created further obstacles for children seeking release to sponsors

without certain immigration status by implementing a new requirement that all sponsors provide

specific types of documentation to show proof of income. Sponsors without work authorization

are not lawfully permitted to work in the U.S. and requiring evidence of U.S. income while

refusing to accept other proof of financial stability—such as bank statements—unlawfully

excludes sponsors based on immigration status.

       ORR’s IFR and concurrent policy changes are procedurally defective, arbitrary and

capricious, and contrary to law, in violation of the Administrative Procedure Act. Plaintiffs are

likely to succeed on multiple independent grounds. ORR’s unlawful policies are inflicting

irreparable harm on Plaintiffs and numerous other children by prolonging their time in detention,

separating them from their parents and other loving family members, causing extreme stress and

uncertainty, and leaving many children with no release options at all. Each day children remain

unnecessarily separated from their families, the greater the irreparable harm becomes. The public

interest favors family integrity and the well-being of children.

       Plaintiffs thus seek a preliminary injunction on behalf of Plaintiffs and a putative class of

all unaccompanied children who are or will be in the custody of HHS and who (a) have or had a

potential sponsor who has been identified; and (b) have not been released to a sponsor in whole

or in part because they are missing documents newly required on or after March 7, 2025

(“Proposed Class”). Plaintiffs filed a motion for class certification on May 9, 2025. See ECF 9.




                                                 3
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 11 of 53




Plaintiffs request that the Court provisionally certify the Proposed Class and preliminarily enjoin

Defendants from enforcing their harmful policies during the pendency of this litigation.

                                         BACKGROUND

   I.      ORR’s Statutory Mandate and Regulations

        In the Homeland Security Act (“HSA”) of 2002, Congress entrusted ORR with the

placement, care, custody, and release of unaccompanied children who arrive in the United States

without a parent or legal guardian and without lawful immigration status. 6 U.S.C. § 279; 8

U.S.C. § 1232. Although unaccompanied children were previously held in INS custody,

Congress intentionally chose to transfer responsibility for these vulnerable children out of the

immigration enforcement system to ORR. The Trafficking Victims Protection Reauthorization

Act (“TVPRA”) of 2008 reinforced the separation between the immigration enforcement system

and ORR’s child welfare mandate, requiring any federal agency with custody of an

unaccompanied child to transfer the child to HHS within 72 hours and mandating that ORR

promptly place unaccompanied children “in the least restrictive setting that is in the best interest

of the child.” 8 U.S.C. §§ 1232(b)(3), (c)(2)(A). The TVPRA contemplates that children will

usually be placed with “a suitable family member” and provides for ORR to conduct suitability

assessments of potential sponsors focused on the safety and well-being of the child. 8 U.S.C.

§§ 1232(c)(2)(A), (c)(3).

        In April 2024, ORR promulgated its Foundational Rule, a set of regulations aimed at

implementing its statutory mandate and codifying its policies related to the custody and release

of unaccompanied children. Unaccompanied Children Foundational Rule, 89 Fed. Reg. 34384,

34385 (Apr. 30, 2024) (the “Foundational Rule”). The Preamble to the Foundational Rule




                                                 4
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 12 of 53




repeatedly emphasizes ORR’s role as a child welfare agency rather than an immigration

enforcement agency. See id. at 34399, 34442-43, 34452, 34568. The Foundational Rule requires

ORR to “release a child from its custody without unnecessary delay,” with preference to a parent,

legal guardian, or adult relative. 45 C.F.R. § 410.1201. Recognizing children’s strong interest in

prompt release, the regulations further require ORR to “adjudicate the completed sponsor

application of a parent or legal guardian” or other close relative within 10 or 14 days, depending

on the closeness of the relationship, absent an unexpected delay. 45 C.F.R § 410.1205(b).

       Consistent with ORR’s role as a child welfare rather than an immigration enforcement

agency, the Foundational Rule further provided that:

       ORR shall not disqualify potential sponsors based solely on their immigration
       status and shall not collect information on immigration status of potential
       sponsors for law enforcement or immigration enforcement related purposes. ORR
       shall not share any immigration status information relating to potential sponsors
       with any law enforcement or immigration enforcement related entity at any time.

45 C.F.R. § 410.1201(b). Plaintiffs will refer to the three parts of § 410.1201(b) as the

Disqualification, Information Collection, and Information Sharing provisions, respectively.

These provisions are significant because most potential sponsors lack lawful immigration status

and discriminating based on immigration status would thus prevent ORR from releasing children

to their close relatives. See Ex. 2, Declaration of Mari Dorn-Lopez ¶ 8, May 4, 2025 (“Dorn-

Lopez Decl.”); Ex. 3, Declaration of Jenifer Smyers ¶ 7, May 6, 2025 (“Smyers Decl.”). In 2018,

for example, ICE data indicated that approximately 80 percent of sponsors or household

members lacked lawful immigration status. See William Kandel, Cong. Rsch. Serv., R 43599

Unaccompanied Alien Children: An Overview 24 (updated Sept. 2024).




                                                 5
     Case 1:25-cv-01405-UNA              Document 10-1    Filed 05/09/25     Page 13 of 53




         On March 25, 2025, ORR issued an Interim Final Rule rescinding 45 C.F.R.

§ 410.1201(b), effective immediately. 90 Fed. Reg. 13554. The sole justification for this IFR was

a purported conflict between the Information Sharing provision and 8 U.S.C. § 1373, an

immigration statute regarding communication between the INS and other government entities.

Id. Aside from a conclusory assertion that the Disqualification and Information Collection

provisions are inextricably linked with the Information Sharing provision, the IFR included no

justification for changing ORR’s policies related to disqualifying sponsors based on immigration

status or collecting sponsor information for enforcement purposes. Nor did it address the likely

impacts on unaccompanied children, the reliance interests of those who already provided

personal information to ORR, or the conflict with ORR’s statutory mission.

   II.      Sponsor Application Process

         A. Family Reunification Application

         When a child enters ORR custody, ORR interviews the child and close family members

to identify potential sponsors. See Office of Refugee Resettlement, Unaccompanied Alien

Children Bureau Policy Guide (“Policy Guide”) § 2.2.1, https://perma.cc/TZ83-H2PC (as of May

9, 2025). ORR then sends the child’s potential sponsor a Family Reunification Packet (“FRP”)

with an application form. Id. § 2.2.3.

         The Family Reunification Application (“FRA”) currently in use by ORR and approved by

the Office of Management and Budget (“OMB”) requires proof of identity from sponsors and

any household members in the “Supporting Documents” section. See Ex. 1-A, Family

Reunification Application at 8, Declaration of Diane de Gramont, May 9, 2025 (“de Gramont

Decl.”). The list of acceptable forms of government-issued identification includes forms of




                                                 6
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25       Page 14 of 53




identification issued by foreign governments and permits the sponsor or adult household member

to establish their identity through a foreign passport or two or more documents such as a birth

certificate, foreign national identification card, or similar documentation. Id. The application

asks sponsors how they will financially support the child but does not require specific supporting

documentation. Id. at 6, 8-10.

       B. Changes to Sponsor Application Proof of Identity Requirements

       Although ORR has not updated its application form, on March 7, 2025, ORR unilaterally

and without any warning to sponsors or children amended its Policy Guide § 2.2.4 to include a

new, more restrictive list of acceptable forms of identification for sponsors, adult household

members, and alternative adult caregivers.1 See de Gramont Decl. Ex. 1-F (Policy Guide § 2.2.4

as amended on March 7, 2025); see also id. Ex. 1-E (prior version of the Policy Guide). The new

list eliminates all forms of identification issued by foreign governments, except for Canadian

driver’s licenses and foreign passports accompanied by proof of lawful U.S. immigration status

such as “an endorsement to work” or an I-551 indicating permanent residence. See Policy Guide

§ 2.2.4; see also U.S. Citizenship & Immigr. Servs., Temporary I-551 Stamps and MRIVs,

https://perma.cc/HBL5-CUYT. While the FRA explicitly permits the use of expired documents to

establish proof of identification, revised Policy Guide § 2.2.4 forbids them.

       ORR applied this new policy to all pending sponsorship applications, including to

completed applications ready for approval. See Declaration of Deisy S. ¶ 22, ECF 9-12 (“Deisy

S. Decl.”); Declaration of Rosa M. ¶¶ 4-5, ECF 9-13 (“Rosa M. Decl.”); Ex. 5, Declaration of



1
 ORR requires each sponsor application to include a sponsor care plan identifying an alternative
adult caregiver who could care for the child if the sponsor becomes unavailable. See Policy
Guide §§ 2.6; 2.7.6; Smyers Decl. ¶ 8.




                                                 7
     Case 1:25-cv-01405-UNA          Document 10-1         Filed 05/09/25     Page 15 of 53




J.E.D.M. ¶ 6, April 16, 2025 (“J.E.D.M. Decl.”); Declaration of Sofia W. ¶¶ 6-7, ECF 9-14

(“Sofia W. Decl.”); Declaration of Ximena L. ¶¶ 6-8, ECF 9-15 (“Ximena L. Decl.”). Parents and

other sponsors who had already provided a copy of their foreign passport as permitted by the

FRA but lacked accompanying immigration documentation (not required by the FRA) were told

that their foreign passports were now insufficient under the new policy. Rosa M. Decl. ¶¶ 3, 5;

Sofia W. Decl. ¶¶ 4, 7; Ximena L. Decl. ¶ 6; Deisy S. Decl. ¶¶ 11, 22.

       The new policy permits exceptions only in the case of a parent or legal guardian sponsor,

and even then, only if “supported by clear justification” and approved by ORR Headquarters “on

a case-by-case basis.” Policy Guide § 2.2.4. To the extent such an exception is possible, it

appears available only to the parent themselves. Id. Any adult household members living with

the parent or backup caregiver would still have to provide qualifying identification. Id.

       Rosa M., for example, was told she could not even be considered for an exception until

after she completed DNA testing and identified a backup caregiver with the approved form of

identification. Rosa M. Decl. ¶¶ 4-7. Liam W.’s release to his mother has not been able to move

forward because the adults living in his mother’s home lack qualifying identification. Declaration

of Liam W. ¶ 7, ECF 9-9 (“Liam W. Decl.”); Sofia W. Decl. ¶ 7. Sofia was advised that if she

wanted to sponsor Liam she would have to move out of the home she shares with her adult

children and nephew, or ask them to leave the home. Sofia W. Decl. ¶ 7. There is no timeline or

decision criteria for ORR’s approval of exception requests. Despite doing everything she could to

sponsor her sons, Rosa M.’s exception request has been pending ORR approval since April 28,

2025, with no response and no way to comfort her young sons. Rosa M. Decl. ¶¶ 9-11.




                                                 8
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 16 of 53




       Angelica S. has been in custody since November 2024. Declaration of Angelica S. ¶ 2,

ECF 9-7 (“Angelica S. Decl.”). Although her sister’s application was complete in February 2025,

Angelica was awaiting vaccines for her newborn daughter and has now had her release blocked

altogether as a result of these policy changes. Id. ¶ 8; Deisy S. Decl. ¶¶ 22-25. Leo B. is missing

his opportunity to finish high school because ORR is refusing to release him to his sister, even

though ORR previously vetted and approved release to his sister and he lived with her safely for

two years. Declaration of Leo B. ¶¶ 3, 6-9, ECF 9-10 (“Leo B. Decl.”).

       C. New Sponsor Proof of Income Requirements

       On April 15, 2025, ORR again amended Policy Guide § 2.2.4 to require specific

documentation of proof of income from all sponsors. See de Gramont Decl. Ex. 1-G. All

sponsors must now provide either their previous year’s tax return, 60 days of continuous

paystubs, or a letter from their employer on company letterhead verifying their employment and

salary information. Id. Once again, the policy change differed from the requirements of the FRA

and was applied retroactively to all pending sponsorship applications. Rosa M. Decl. ¶ 8;

Ximena Decl. ¶ 10. The Policy Guide includes no exceptions for parents or legal guardians and

no other mechanism to prove financial stability and ability to care for the child. Policy Guide

§ 2.2.4.

        These new policies have already led to significant delays in children’s reunification with

their families. Eduardo M. and his 7-year-old brother have been in ORR custody since January

2025 but have not yet reunified with their mother despite her diligent efforts to fulfill ORR’s

ever-changing sponsor requirements. Rosa M. Decl. ¶¶ 3-9; Declaration of Eduardo M. ¶¶ 3-6,

April 16, 2025, ECF 9-8. Although Rosa M. provided bank statements and a letter about her




                                                 9
     Case 1:25-cv-01405-UNA          Document 10-1         Filed 05/09/25     Page 17 of 53




income, she has been waiting for over 10 days without a response on whether ORR will make an

exception to the strict new requirements in the Policy Guide. Rosa M. Decl. ¶¶ 8-9.

       These children’s experiences are far from unique. Plaintiff Immigrant Defenders reports

that the children it represents are remaining in custody far longer because of ORR’s new

identification and proof of income requirements. Ex. 4, Declaration of Cynthia Felix ¶¶ 7-8, May

6, 2025 (“Felix Decl.”). ORR’s data indicates that it is now detaining children for dramatically

longer periods as a result of its new policies. The average length of care for children discharged

from ORR custody has climbed precipitously from 37 days in January 2025 to 49 days in

February 2025 to 112 days in March 2025. See de Gramont Decl. Ex. 1-H.

       D. Proposed Revisions to Family Reunification Application

       On April 25, 2025, ORR published a notice of information collection under the

Paperwork Reduction Act to revise the Family Reunification Application (to be renamed the

“Sponsor Application”), with a 60-day comment period. See Proposed Information Collection

Activity: Unaccompanied Alien Children Sponsor Application Packet (OMB # 0970-0278), 90

Fed. Reg. 17438 (Apr. 25, 2025). The proposed Sponsor Application changes the Supporting

Documents to match ORR’s recent changes to Policy Guide 2.2.4 related to proof of

identification, proof of income, and other documents. See de Gramont Decl. Ex. 1-C at 6-7. The

new proposed Authorization for Release of Information removes language stating that the

Department of Homeland Security (“DHS”) generally cannot use the sponsor’s information for

enforcement purposes. Compare id. Ex. 1-D, with id. Ex. 1-B.

       The burden estimate for this proposed information collection acknowledges that these

policies are likely to lead to increased lengths of detention, stating that ORR expects “a decrease




                                                10
    Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 18 of 53




in the number of sponsors applying to sponsor a child and an increase in the number [of] care

provider facilities.” 90 Fed. Reg. at 17439. Even though the comment period is still open on this

revised information collection and ORR has yet to receive OMB approval for its new

requirements as required by the Paperwork Reduction Act, 44 U.S.C. § 3507(a), ORR is already

enforcing the new documentation requirements on sponsors as if the new Sponsor Application

was already in force.

       E. Expanded Collection of Biometric Data on Sponsors

       In addition to implementing restrictive proof of identification and proof of income

requirements, ORR has simultaneously and dramatically increased the amount and sensitivity of

information collected from sponsors by requiring that all adult sponsors, all adult household

members, and all backup adult caregivers submit to fingerprint-based background checks prior to

release, including when the child is seeking release to a parent. See Office of Refugee

Resettlement, Field Guidance #26 (“FG-26”): Fingerprint Background Checks and Acceptable

Supporting Documentation for a Family Reunification Application (Feb. 14, 2025),

https://perma.cc/3R26-GK9Y.

       ORR also now requires DNA testing of the child and sponsor in every case where a

sponsor claims a biological relationship with the child. See Office of Refugee Resettlement, Field

Guidance #27 (“FG-27”): DNA Testing Expansion (Mar. 14, 2025), https://perma.cc/67MF-

ELB8. This DNA requirement has led to additional delays of weeks and potentially months in

children’s cases, including the cases of children whose release was previously interrupted by

ORR’s new proof of identification requirements. See Sofia W. Decl. ¶ 8; Rosa M. Decl. ¶ 7.




                                                11
     Case 1:25-cv-01405-UNA            Document 10-1       Filed 05/09/25      Page 19 of 53




    III.      Information Sharing with DHS

           A. Prior Information Sharing with DHS

           In 2018, ORR expanded fingerprinting requirements for potential sponsors and entered

into a memorandum of agreement (“MOA”) with DHS to share information obtained through the

sponsorship vetting process directly with U.S. Immigration and Customs Enforcement (“ICE”)

and U.S. Customs and Border Protection (“CBP”), which they planned to use for enforcement

purposes. This policy change led to a reduction in sponsors willing to come forward to sponsor

children, dramatically increased lengths of stays in detention, and serious harms to children’s

mental health and wellbeing. See Dorn-Lopez Decl. ¶¶ 5-6; Smyers Decl. ¶¶ 7, 17; see also

Dep’t of Health & Hum. Servs., Office of the Inspector Gen., Report No. OEI-09-18-00431,

Care Provider Facilities Described Challenges Addressing Mental Health Needs of Children in

HHS Custody 13 (Sept. 2019) (“Facilities reported that it became more difficult to identify

sponsors willing to accept children after the new fingerprinting requirements were implemented,

which delayed placing children with sponsors, adding further stress and uncertainty.”); id. at 12-

13 (“According to facility staff, longer stays resulted in higher levels of defiance, hopelessness,

and frustration among children, along with more instances of self-harm and suicidal ideation.”).

ORR itself acknowledged that information-sharing was leading to unnecessary delays in release.

As a result, in 2019, it suspended reconciliation of sponsor background checks with ICE.2




2
 See Testimony of Jonathan Hayes before the Subcomm. on Lab., Health & Hum. Services,
Educ., & Related Agencies, U.S. House Comm. on Appropriations (Sept. 18, 2019) at 1:29:00-
1:31:00, https://www.c-span.org/video/?464368-1/administration-officials-testify-migrant-
children-mental-health.




                                                 12
    Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 20 of 53




       B. Restrictions on Using ORR Data for Immigration Enforcement

       In response to the serious and well-documented harm caused by ORR’s prior

information-sharing policy, Congress placed explicit restrictions on DHS’s use of information

obtained from HHS regarding unaccompanied children and their potential sponsors. Congress

did so after a House of Representatives report described how ORR sharing information about a

sponsor’s immigration status with DHS undermined children’s wellbeing and access to

immigration relief. H.R. Rep., No. 116-450, at 185 (2021). These appropriations restrictions

began in fiscal year 2020 and have been extended each year through fiscal year 2025. See

Consolidated Appropriations Act, 2020, Pub. L. No. 116-93, Div. D, § 216(a), 133 Stat. 2317,

2513 (2019); Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4,

Div. A, §§ 1104-05, 139 Stat. 9, 12 (2025). With narrow exceptions for specific crimes,

Congress has prohibited DHS from using information shared by HHS “to place in detention,

remove, refer for a decision whether to initiate removal proceedings, or initiate removal

proceedings against a sponsor, potential sponsor, or member of a household of a sponsor or

potential sponsor of an unaccompanied alien child (as defined in section 462(g) of the Homeland

Security Act of 2002 (6 U.S.C. 279(g)).” Pub. L. No. 116-93, Div. D, § 216(a), 133 Stat. at 2513.

       In December 2024, ORR published a notice of a new system of records in the Federal

Register as required by the Privacy Act. See Office of Refugee Resettlement, Privacy Act of

1974; System of Records, 89 Fed. Reg. 96250 (Dec. 4, 2025). Because ORR maintains a mixed

system of records that includes some information related to individuals covered by the Privacy

Act and some not, ORR exercised its discretion to treat all information in its system of records as

protected by the Privacy Act. Id. at 96250. Like the Foundational Rule, the notice emphasizes




                                                13
    Case 1:25-cv-01405-UNA            Document 10-1         Filed 05/09/25       Page 21 of 53




that “ORR is not an immigration enforcement agency and does not maintain records for

immigration enforcement purposes,” so sharing information with entities such as DHS for

immigration enforcement purposes is “incompatible with ORR’s program purpose” and is not a

permissible routine use under the Privacy Act. Id. at 96251, 96253.

       The family reunification packet currently in use by ORR specifically states, “I also

understand that DHS cannot use my information for immigration enforcement actions, including

placement in detention, removal, referral for a decision whether to initiate removal proceedings,

or initiation of removal proceedings, unless I have been convicted of a serious felony, am

pending charges for a serious felony, or I have been directly involved in or associated with any

organization involved in human trafficking.” de Gramont Decl. Ex. 1-B. The FRA also states that

“ORR prefers to release a child to a parent or legal guardian, regardless of your immigration

status. ORR is not an immigration enforcement agency.” de Gramont Decl. Ex. 1-A at 2.

                                           ARGUMENT

        To obtain a preliminary injunction, a plaintiff “must establish that he is likely to succeed

on the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that

the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “These factors interrelate on a sliding scale

and must be balanced against each other.” Davenport v. Int’l Brotherhood of Teamsters, 166 F.3d

356, 360 (D.C. Cir. 1999). The same standard applies to a request for preliminary relief under

the APA, 5 U.S.C. § 705. See Gomez v. Trump, 485 F. Supp. 3d 145, 168 (D.D.C. 2020).

        Plaintiffs are entitled to an order staying the IFR and enjoining ORR from enforcing its

new proof of identification and proof of income policies because they are likely to succeed on




                                                  14
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 22 of 53




the merits, they are currently suffering irreparable harm, and the balance of the equities and the

public interest favor a preliminary injunction. For the reasons set forth in Plaintiffs’ Motion for

Class Certification, ECF 9, Plaintiffs are also entitled to provisional class certification. See

Damus v. Nielsen, 313 F. Supp. 3d 317, 328 (D.D.C. 2018).

   I.      Plaintiffs are Likely to Succeed on the Merits

        Plaintiffs are likely to succeed on the merits of their claims for multiple independent

reasons, including that the IFR lacks good cause and is arbitrary and capricious on its face and

that the new policy changes are contrary to ORR’s binding regulations, arbitrary and capricious,

contrary to the requirements of the Paperwork Reduction Act, and impermissibly retroactive.

        A. The Interim Final Rule is Unlawful and Must be Set Aside

            1.    The IFR is procedurally invalid because ORR bypassed notice and comment
                  and made the IFR effectively immediately without good cause.

                   a. ORR had no good cause to skip notice and comment.

        Under the Administrative Procedure Act, when promulgating a rule, an agency must

publish a proposed rule and give the public “an opportunity to participate in the rule making

through submission of written data, views, or arguments.” 5 U.S.C. § 553(b)-(c). Only after

considering the public’s comments can the agency finalize the rule. Id. § 553(c). The notice-and-

comment requirement is meant “(1) to ensure that agency regulations are tested via exposure to

diverse public comment, (2) to ensure fairness to affected parties, and (3) to give affected parties

an opportunity to develop evidence in the record to support their objections to the rule and

thereby enhance the quality of judicial review.” Int’l Union, United Mine Workers of Am. v. Mine

Safety & Health Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005).




                                                 15
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 23 of 53




       The statute allows the agency to skip notice and comment if it finds that “notice and

public procedure thereon are impracticable, unnecessary, or contrary to the public interest” and

provides a “brief statement of reasons.” 5 U.S.C. § 553(b)(B). “Because notice-and-comment

procedures are vital to ensuring informed agency decisions,” Purdue Univ. v. Scalia, No. CV 20-

3006 (EGS), 2020 WL 7340156, at *6 (D.D.C. Dec. 14, 2020), the “good cause” exception “is to

be narrowly construed and only reluctantly countenanced.” Tri-Cnty. Tel. Ass’n, Inc. v. FCC, 999

F.3d 714, 719 (D.C. Cir. 2021); see also Mack Trucks, Inc. v. EPA, 682 F.3d 87, 93 (D.C. Cir.

2012). It generally “should be limited to emergency situations.” Am. Fed. of Govt. Emps., AFL-

CIO v. Block, 655 F.2d 1153, 1156 (D.C. Cir. 1981) (“AFGE”). Courts owe no deference to an

agency’s legal conclusion that good cause exists; courts review those conclusions de novo.

Sorenson Commc’ns Inc. v. F.C.C., 755 F.3d 702, 706 (D.C. Cir. 2014).

       Here, ORR claimed there was good cause to repeal 45 C.F.R. § 410.1201(b) in its entirety

without notice and comment because:

       45 CFR 410.1201(b) contravenes 8 U.S.C. 1373. ORR had no authority to
       promulgate such a rule; revoking it immediately is in the public interest; and
       notice and comment is unnecessary and contrary to the public interest because no
       amount of public input could give ORR the power to contravene a duly-enacted
       law of Congress via regulation.

90 Fed. Reg. at 13555. This reasoning is insufficient to establish good cause for multiple reasons.

       First, ORR did not apply the relevant legal standards. ORR does not contend that notice

and comment would be “impracticable.” The “unnecessary” prong of the good cause inquiry is

“confined to those situations in which the administrative rule is a routine determination,

insignificant in nature and impact, and inconsequential to the industry and to the public,” Mack

Trucks, Inc., 682 F.3d at 94, such as “the issuance of a minor rule in which the public is not




                                                16
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 24 of 53




particularly interested.” Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 755 (D.C. Cir.

2001) (quoting Dep’t of Just., Attorney General’s Manual on the Administrative Procedure Act

31 (1947)). The IFR does not match any of those descriptions.

       The IFR rescinds regulations that go to the heart of the agency’s purpose—to ensure

unaccompanied children are placed in the least restrictive setting that is in their best interest. The

IFR significantly impacts children and their potential sponsors, who are usually close family

members. Allowing ORR to deny sponsors based solely on immigration status and to collect and

share immigration status information for immigration enforcement purposes causes vulnerable

children to stay detained in federal immigration custody much longer than they otherwise would.

Dorn-Lopez Decl. ¶¶ 5-6; Smyers Decl. ¶¶ 5-7; Felix Decl. ¶¶ 7-9. Sponsors who have already

gone through lengthy questioning, biometric appointments, and in some cases home studies are

being told they cannot sponsor their children or other family member because they lack

immigration documentation accompanying their passport. Rosa M. Decl. ¶¶ 3-5; Deisy S. Decl.

¶¶ 11, 24-27; Ximena L. ¶¶ 6-8, 10. The longer the IFR is in place, the more harm will be caused.

       Furthermore, the IFR is not a “routine determination” or a “minor rule in which the

public is not particularly interested.” The Foundational Rule, part of which the IFR repealed,

received over 73,000 comments. See Comments, Unaccompanied Children Program

Foundational Rule, https://perma.cc/DL56-J2TT. Although the comment period is still open, as

of the time of filing the IFR itself has already received numerous comments addressing serious

policy concerns regarding the harm of such policies to unaccompanied children. See UC Program

Foundational Rule Update on Info Sharing, https://perma.cc/HB8B-CDZ8.




                                                  17
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 25 of 53




       And “[the public interest prong of the good cause exception is met only in the rare

circumstance when ordinary procedures—generally presumed to serve the public interest—

would in fact harm that interest.” Mack Trucks, Inc., 682 F.3d at 95. For example, this prong may

apply “when the timing and disclosure requirements of the usual procedures would defeat the

purpose of the proposal,” such as cases where “announcement of a proposed rule would enable

the sort of financial manipulation the rule sought to prevent.” Id. (quoting Util. Solid Waste

Activities Grp., 236 F.3d at 755). But ORR failed to explain how following normal APA notice-

and-comment procedures would affirmatively harm the public.

       Second, the premise underlying ORR’s good cause assertion—that 45 C.F.R.

§ 410.1201(b) so clearly contravenes 8 U.S.C. § 1373 that considering the public’s views would

be pointless—is overbroad and incorrect. 45 C.F.R. § 410.1201(b) places three different

restrictions on ORR:

       [(1)] ORR shall not disqualify potential sponsors based solely on their
       immigration status and [(2)] shall not collect information on immigration status of
       potential sponsors for law enforcement or immigration enforcement related
       purposes. [And [(3),] ORR shall not share any immigration status information
       relating to potential sponsors with any law enforcement or immigration
       enforcement related entity at any time.

       Taking the first two of these provisions together, the Disqualification and Information

Collection provisions clearly do not contravene § 1373. Nothing in § 1373 requires ORR to

disqualify sponsors based solely on immigration status or to collect immigration status

information for enforcement purposes. The statute simply does not address those topics. ORR

claims in a footnote that Disqualification and Information Collection provisions are “inextricably

linked” to the Information Sharing provision. 90 Fed. Reg. at 13555 n.1. But they are not. Even

if, under § 1373, ORR could not restrict the sharing of any immigration status information it has




                                                 18
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 26 of 53




with DHS, ORR could continue to consider all potential sponsors regardless of immigration

status and refrain from collecting immigration status information for enforcement purposes.

Rescinding the Disqualification and Information Collection provisions is a major substantiative

change to ORR’s program that is not mandated by § 1373 and requires an opportunity for notice

and comment. See World Duty Free Americas, Inc. v. Summers, 94 F. Supp. 2d 61, 65 (D.D.C.

2000) (holding that ATF “unreasonably determined that notice-and-comment was unnecessary”

where the rules went “beyond a mere recitation of the statutory language to provide definitions

not found in the statute”).

       As for the Information Sharing provision, ORR incorrectly assumed that it contravenes

§ 1373. The agency read § 1373 as an affirmative grant of authority, and requirement, to share

immigration-related information with DHS. But that statute does not affirmatively grant that

authority, and it does not override other Congressional statutes that restrict the sharing of

immigration-related information. Instead, the statute operates to limit the discretion of federal

agencies to withhold information from DHS where they otherwise have statutory authority to

share that information See Office of Legal Counsel, Relationship Between Illegal Immigration

Reform and Immigrant Responsibility Act of 1996 and Statutory Requirement for Confidentiality

of Census Information at 6, 1999 WL 34995963 (O.L.C. May 18, 1999). And the TVPRA, which

was enacted after 8 U.S.C. § 1373, imposes obligations on ORR that the agency could not fulfill

if it were to share immigration status information with DHS. In particular, Congress required

ORR to ensure that “an unaccompanied alien child in the custody of the Secretary of Health and

Human Services shall be promptly placed in the least restrictive setting that is in the best interest

of the child,” 8 U.S.C. § 1232(c)(2)(A). ORR cannot fulfill this instruction if potential sponsors




                                                 19
     Case 1:25-cv-01405-UNA          Document 10-1        Filed 05/09/25      Page 27 of 53




are unable to come forward out of fear that their information would be shared with immigration

authorities.

        Further, even if the Information Sharing provision was arguably legally flawed, that is not

a sufficient reason to skip notice and comment. “[T]he question whether the [previous]

regulations are indeed defective is one worthy of notice and an opportunity to comment.”

Consumer Energy Council of Am. v. Fed. Energy Reg. Comm’n, 673 F.2d 425, 448 (D.C. Cir.

1982) (rejecting argument that “notice and comment requirements do not apply to ‘defectively

promulgated regulations’”), aff’d sub nom. Process Gas Consumers Grp. v. Consumer Energy

Council of Am., 463 U.S. 1216 (1983); see also Am. Wild Horse Pres. Campaign v. Perdue, 873

F.3d 914, 928 (D.C. Cir. 2017); Nat’l Parks Conservation Ass’n v. Salazar, 660 F. Supp. 2d 3, 5

(D.D.C. 2009); Nat’l Treasury Emps. Union v. Cornelius, 617 F. Supp. 365, 371 (D.D.C. 1985).

Also, even if ORR believed the Information Sharing provision was illegal, ORR should still have

considered whether it had discretion to wind it down in a way that accounts for children’s and

sponsors’ reliance interests. See DHS v. Regents of the Univ. of California, 591 U.S. 1, 30 (2020)

(requiring the government to consider whether it had “flexibility in addressing any reliance

interests of DACA recipients” when rescinding DACA even though the Attorney General

determined that the DACA program was illegal).

        Had there been a notice and comment period, the public could have provided “data,

views, or arguments,” 5 U.S.C. § 553(c), regarding the interaction between § 1373 and the

statutes and regulations governing ORR’s program and suggested regulatory alternatives to

reduce harms to children, sponsors, and other regulated parties. Instead, ORR abruptly repealed

§ 410.1201(b) based on flawed reasoning with no notice to the many parties involved and




                                                20
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 28 of 53




without a sufficient showing of good cause for its haste. Courts’ review of an agency’s

determination of good cause “is meticulous and demanding,” Sorenson Commc’ns Inc., 755 F.3d

at 706 (quotation marks omitted). ORR’s statement of good cause simply does not pass muster.

Thus, the IFR should be set aside.

                   b. ORR failed to establish good cause to hasten the IFR’s effective date.

       The Administrative Procedure Act also “requires that a rule be published not less than

thirty days before its effective date.” AFGE, 655 F.2d at 1155; 5 U.S.C. § 553(d). This

requirement “serve[s] the laudable purpose of informing affected parties and affording them a

reasonable time to adjust to the new regulation.” AFGE, 655 F.2d at 1156. An agency can make a

rule effective fewer than 30 days after publication for “good cause found and published with the

rule,” 5 U.S.C. § 553(d)(3), but this good cause exception, like the § 553(b) exception, is also

“narrowly construed and only reluctantly countenanced” and is reserved for emergency

situations. AFGE, 655 F.2d at 1156.

       ORR claims that “[g]ood cause exists for immediate effect, see 5 U.S.C. 553(d)(3),

because this IFR brings an ORR regulation into compliance with a federal statute and regulated

entities do not need time to adjust their behavior before this rule takes effect.” 90 Fed. Reg. at

13555. For the reasons stated above, ORR’s assertion that the IFR is necessary to bring the

agency “into compliance with a federal statute” is incorrect. At a minimum, this assertion raises

issues that public commenters should have had an opportunity to address. Moreover, Defendants’

assertion that regulated entities do not need time to adjust their behavior is patently incorrect,

given the substantial reliance interests that Plaintiffs and others have in the protections

guaranteed them by the Foundational Rule, which had been in effect since the spring of 2024,




                                                 21
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 29 of 53




and which reflected longstanding policy. As described in more detail below, ORR’s changes to

sponsor requirements to increase scrutiny of sponsor’s immigration status and permit denials

based on immigration status have caused significant disruption and delays in ORR’s release

process. Thus, for the same reasons that ORR lacked good cause to proceed without notice and

comment, it also lacked good cause to make its IFR immediately effective.

            2.    The IFR is arbitrary and capricious because ORR offered no reasoned
                  explanation for significant changes in policy.

       In addition to failing to follow procedure required by law, the IFR must be held unlawful

and set aside because it is “arbitrary, capricious, [and] an abuse of discretion.” 5 U.S.C. § 706(2).

An agency action is arbitrary and capricious when the agency fails to “examine the relevant data

and articulate a satisfactory explanation for its action including a ‘rational connection between

the facts found and the choice made.’” Motor Vehicles Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal citations omitted); see also Ohio v. E.P.A.,

603 U.S. 279, 292 (2024). “[A]n agency rule would be arbitrary and capricious if the agency has

relied on factors which Congress has not intended it to consider, entirely failed to consider an

important aspect of the problem, offered an explanation for its decision that runs counter to the

evidence before the agency, or is so implausible that it could not be ascribed to a difference in

view or the product of agency expertise.” Id.

       Here, ORR has provided no reasoned justification at all for rescinding the

Disqualification and Information Collection provisions of the ORR Foundational Rule, beyond a

conclusory statement that these provisions are inextricably linked and not severable from the

Information Sharing provision. 90 Fed. Reg. at 13555 n.1. As discussed above, 8 U.S.C. § 1373




                                                 22
     Case 1:25-cv-01405-UNA            Document 10-1         Filed 05/09/25      Page 30 of 53




in no way requires ORR to deny sponsors based solely on immigration status or to collect

sponsor information for enforcement purposes.

       Moreover, severability applies to a court’s remedial powers to strike down regulations,

not to an agency’s amendment of its own regulations. Courts presume that policymakers would

prefer that the offending part of a statute or regulation be severed than for an entire statute or

regulation to fall. The presumption “allows courts to avoid judicial policymaking or de facto

judicial legislation in determining just how much of the remainder of a statute [or regulation]

should be invalidated.” Barr v. Am. Ass’n of Pol. Consultants, Inc., 591 U.S. 610, 626 (2020).

That concern is not present when the agency is considering whether to amend its own regulation.

Consistent with this understanding of the different roles of courts and agencies, in promulgating

the severability provision as part of the Foundational Rule, ORR stated its intent that, if “any

portion of the requirements arising from the final rule is declared invalid by a court, . . . all other

parts of the final rule that are capable of operating in the absence of the specific portion that has

been invalidated to remain in effect.” See Unaccompanied Program Foundational Rule, 88 Fed.

Reg. 68908, 68914 (Oct. 4, 2023) (proposed rule). The severability clause does not permit ORR

itself to make major regulatory changes without reasoned justification.

       Denying sponsors based solely on immigration status and collecting sponsor information

for enforcement purposes represent significant policy changes and the agency has offered no

rational explanation for these changes, much less acknowledged the likely consequences or

considered alternatives to minimize harms. See DHS v. Regents of Univ. of Cal., 591 U.S. 1, 30

(2020) (“State Farm teaches that when an agency rescinds a prior policy its reasoned analysis

must consider the ‘alternative[s]’ that are ‘within the ambit of the existing [policy].’”) (quoting




                                                  23
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 31 of 53




State Farm, 463 U.S. at 51); see also L.V.M. v. Lloyd, 318 F. Supp. 3d 601, 613 (S.D.N.Y. 2018)

(holding that policy requiring ORR Director approval for release was arbitrary and capricious

because “[the ORR Director] had no factual or legal basis for adopting” this policy, “he made no

analysis of the policy’s impact; and he offered no justification for the policy”).

       With specific regard to the Disqualification provision, permitting sponsorship denials

based solely on immigration status is a seismic change in ORR policy with far-reaching

consequences that the agency wholly fails to acknowledge in the IFR. Most of the potential

sponsors of children in ORR custody are undocumented. Dorn-Lopez Decl. ¶ 8; Smyers Decl.

¶ 7. Disqualifying sponsors without lawful immigration status is thus nearly guaranteed to

prolong children’s time in custody, delay placement in the least restrictive setting as required by

the TVPRA, 8 U.S.C. § 1232(c)(2)(A), and result in some children being released to more distant

relatives or unrelated sponsors merely because they have stable immigration status, rather than

their parents or other close relatives who lack lawful status. See J.E.C.M. v. Lloyd, 352 F. Supp.

3d 559, 583 (E.D. Va. 2018) (noting that an “amicus brief filed on behalf of the Human

Trafficking Legal Center confirms what common sense dictates, namely that the information-

sharing policy could dissuade otherwise qualified sponsors from filing family reunification

applications, forcing ORR to hold unaccompanied minors in custody for longer than necessary or

to release them to less qualified or unrelated sponsors.”). The IFR failed to “examine the relevant

data” and “entirely failed to consider [these] important aspect[s] of the problem.” State Farm,

463 U.S. at 43.

       The Foundational Rule’s prohibition on denial of sponsorship applications based solely

on immigration status codified the agency’s longstanding practice of considering applications




                                                 24
     Case 1:25-cv-01405-UNA          Document 10-1         Filed 05/09/25     Page 32 of 53




from all potential sponsors, regardless of their immigration status. See Preamble to ORR

Foundational Rule, 89 Fed. Reg. at 34440 (noting that the Disqualification provision was

“consistent with existent policy”). ORR also stated its “strong belief that, generally, placement

with a vetted and approved family member or other vetted and approved sponsor, as opposed to

placement in an ORR care provider facility, whenever feasible, is in the best interests of

unaccompanied children.” Id. Many commenters to the Foundational Rule supported the

Disqualification provision and noted the benefits of encouraging qualified sponsors to come

forward to reduce length of stay and encourage relatives with cultural competency to sponsor a

child. Id. at 34441; Smyers Decl. ¶ 18. In response to comments on the Foundational Rule, ORR

took the position that it “does not have statutory authorization to investigate the immigration

status of potential sponsors” and that the HSA and TVPRA “do not imbue ORR with the

authority to inquire into immigration status as a condition for sponsorship.” 89 Fed. Reg. at

34442. Denying sponsors based on immigration status thus “relie[s] on factors which Congress

has not intended it to consider.” State Farm, 463 U.S. at 43.

       ORR similarly fails to acknowledge or explain its change of position with regard to the

Information Collection provision. Many comments to the Foundational Rule strongly supported

the Information Collection restrictions and urged ORR to go further to protect undocumented

sponsors from immigration enforcement. 89 Fed. Reg. at 34441-42. In response to comments,

ORR noted that “it is not an immigration enforcement agency” and, consistent with its statutory

mandate, “to the extent ORR does collect information on the immigration status of a potential

sponsor, it would be only for the purpose of evaluating the potential sponsor’s ability to provide




                                                25
     Case 1:25-cv-01405-UNA            Document 10-1          Filed 05/09/25      Page 33 of 53




care for the child (e.g., whether there is a plan in place to care for the child if the potential

sponsor is detained).” Id. at 34442.

        The IFR further fails to even mention ORR’s still-operative Privacy Act notice, which

states clearly that ORR does not collect or share information for immigration enforcement

purposes because this is “incompatible with ORR’s program purposes.” See 89 Fed. Reg. at

96251; see also J.E.C.M., 352 F. Supp. 3d at 583 (finding that sharing information about

sponsors and household members with DHS “runs counter to ORR’s mission to release the

children in its custody into stable, nurturing environments”). This omission is especially

significant given that, as discussed above, ORR is fully aware that the last time it collected

information from sponsors for enforcement purposes, this policy deterred sponsors from coming

forward and led to increased lengths of stay in custody. Dorn-Lopez Decl. ¶¶ 5, 14-15; Smyers

Decl. ¶¶ 7-8, 17. Children in ORR custody are already suffering the effects. After Deisy S. was

told she could not sponsor her sister and baby niece because of her lack of qualifying

identification, she searched widely for other potential sponsors but was not able to find anyone

willing to share their information with the government for fear of immigration consequences.

Deisy S. Decl. ¶ 28. Angelica S. and her baby now have no prospects for release. Angelica S.

Decl. ¶¶ 28-30. Similarly, Ximena W.’s financially-supportive partner is afraid to provide

additional information to ORR for fear they will share it with immigration officials. Ximena W.

Decl. ¶ 10.

        Finally, the IFR fails to consider the reliance interests of sponsors such as Deisy S. and

Ximena L. who already submitted sensitive information on ORR’s promises that their

applications would receive fair consideration and that their information was not being collected




                                                   26
     Case 1:25-cv-01405-UNA            Document 10-1         Filed 05/09/25       Page 34 of 53




for enforcement purposes. Deisy S. Decl. ¶ 10; Ximena L. Decl. ¶¶ 5, 10; see also Regents of

Univ. of Cal., 591 U.S. at 31-33 (agency must consider reliance interests); FCC. v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009). Breaking the agency’s commitment to sponsors

discourages sponsors from coming forward, which prolongs detention. Dorn-Lopez Decl. ¶ 15.

        B. ORR’s New Sponsor Documentation Requirements Are Unlawful

        Plaintiffs are also likely to succeed on their claims that ORR’s new sponsor

documentation requirements violate the APA. The new requirements are contrary to law because

they violate ORR’s own regulations and the TVPRA’s mandate that ORR place children “in the

least restrictive setting that is in the best interest of the child.” 8 U.S.C. § 1232(c)(2)(A). In

addition, ORR has changed its information collection requirements without going through the

statutorily-required process for agencies to modify information collections. ORR also acted

arbitrarily and capriciously by drastically changing its proof of identification and proof of

income requirements without any explanation and without any apparent consideration for the

reliance interests of sponsors and unaccompanied children, the impact on children’s length of

detention and well-being, or less burdensome alternatives to verify sponsor identity and proof of

income. These policies are also impermissibly retroactive, as they have been applied to

applications already submitted in reliance on ORR’s prior policies.

             1.    ORR’s Policy Guide revisions are final agency actions

        ORR’s March 7, 2025, and April 15, 2025, revisions to Policy Guide § 2.2.4 are final

agency actions subject to judicial review under the Administrative Procedure Act. 5 U.S.C.

§§ 702, 704. These policies represent “the ‘consummation’ of the agency’s decisionmaking

process,” determine “rights and obligations,” and create “legal consequences.” Bennett v. Spear,




                                                   27
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 35 of 53




520 U.S. 154, 177-78 (1997) (quoting Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S.

103, 113 (1948) and Port of Bos. Marine Terminal Ass’n v. Rederiaktiebolaget Transatlantic, 400

U.S. 62, 71 (1970)). The new requirements are published in the Policy Guide as mandatory new

requirements for potential sponsors and ORR has “applied the guidance as if it were binding on

regulated parties,” including by blocking release of children to otherwise qualified sponsors who

lack requisite documentation. Sierra Club v. EPA, 955 F.3d 56, 63 (D.C. Cir. 2020) (quoting

Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 253 (D.C. Cir. 2014)). Other courts considering

changes to ORR release policies—including even unpublished release requirements—have found

these policies to be final agency actions. E.g., L.V.M., 318 F. Supp. 3d at 612; see also J.E.C.M.,

352 F. Supp. 3d at 582 n.12 (ORR did not dispute that its policies “as reflected in ORR’s

amendment of the Policy Guide, amount to final agency actions.”).

            2.    ORR’s revised identification and proof of income requirements unlawfully
                  disqualify potential sponsors solely based on immigration status

       ORR’s new requirements are contrary to law as they violate ORR’s own regulations.

Because the IFR is unlawful for the reasons discussed above, ORR remains bound by its

regulations prohibiting sponsor denials based solely on immigration status. See 45 C.F.R.

§ 410.1201(b)(2024). “[I]t is a ‘well-settled rule that an agency’s failure to follow its own

regulations is fatal to the deviant action.’” Fla. Inst. of Tech. v. FCC, 952 F.2d 549, 553 (D.C.

Cir. 1992) (quoting Way of Life Television Network, Inc. v. FCC, 593 F.2d 1356, 1359 (D.C. Cir.

1979)); see also United States v. Nixon, 418 U.S. 683, 695 (1974); Vitarelli v. Seaton, 359 U.S.

535, 545 (1959); United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 268 (1954). ORR’s

revisions to Policy Guide § 2.2.4 related to proof of identification and proof of income

unlawfully disqualify sponsors based solely on their immigration status.




                                                 28
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 36 of 53




       The March 7, 2025, revision to ORR’s requirements for proof of identification

disqualifies otherwise suitable sponsors solely based on their immigration status. This is most

obvious with regard to the use of foreign passports. Deisy S., Rosa M., and Ximena L. provided

copies of their passports as proof of identification. Deisy S. Decl. ¶ 11; Rosa M. Decl. ¶ 3;

Ximena L. Decl. ¶ 6. ORR’s Family Reunification Application states that a foreign passport is

sufficient by itself to establish proof of identification. de Gramont Decl. Ex. 1-A. But under

revised Policy Guide § 2.2.4, their passports are no longer acceptable unless accompanied by

proof of lawful residency or work authorization. For Deisy, this means she is fully disqualified

from sponsoring her sister and baby niece even though she provided proof of identification,

fingerprints, and underwent a home study. See Deisy S. Decl. ¶¶ 12-17, 22-23, 25.

       Importantly, the Foundational Rule prohibits ORR from disqualifying any potential

sponsor based solely on their immigration status. That a minority of states allow undocumented

individuals to obtain a driver’s license or a state identification card does not render this policy

valid; many potential sponsors are still disqualified based solely on their inability to produce

required documentation because of their immigration status. See, e.g., Smyers Decl. ¶ 12. Deisy,

for example, cannot obtain a state identification because Texas requires proof of lawful status to

obtain a state identification or driver’s license. Deisy S. Decl. ¶ 22; see Tex. Transp.

Code § 521.142(a).3 Although some states like California and New York permit individuals to

obtain a driver’s license without proof of lawful status, they still require lawful presence to




3
 See also Tex. Dep’t of Pub. Safety, How to Apply for a Texas Identification Card,
https://www.dps.texas.gov/section/driver-license/how-apply-texas-identification-card (last visited
May 8, 2025).




                                                  29
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 37 of 53




obtain a regular state identification card.4 As a result, sponsors such as Rosa M. who do not know

how to drive have no means of obtaining a qualifying identification without proof of immigration

status. Rosa M. Decl. ¶ 5. Even in the few states where obtaining a state identification card is

possible, sponsors have still faced delays in obtaining a new identification. Ximena L. Decl. ¶ 8.

       ORR’s new proof of income requirements similarly disqualifies sponsors based on their

immigration status. Whereas the FRA requires only a narrative answer explaining how the

sponsor will financially support the child—including potential financial support from others—

revised Policy Guide § 2.2.4 requires that the sponsor provide either (1) the previous year’s tax

return; (2) 60 days of continuous paystubs; or (3) a letter from the sponsor’s employer on

company letterhead. Compare Ex. 1-A at 6 with Policy Guide § 2.2.4. This requirement is not

accessible to sponsors without lawful work authorization and does not comport with child

welfare best practices. Smyers Decl. ¶¶ 9-10. Although sponsors such as Rosa M. can provide

bank statements showing their financial ability to care for their children, this documentation is

not permitted under ORR’s revised policy. Rosa M. Decl. ¶ 8.

            3.    ORR refuses to accept alternate evidence of financial stability in violation of the
                  Foundational Rule

       The new requirements are also contrary to another provision of the Foundational Rule,

which provides that “[a]s part of its suitability assessment, ORR may require such components

as . . . verification of the employment, income, or other information provided by the potential




4
  See Cal. Dep’t of Motor Vehicles, ID Cards, https://www.dmv.ca.gov/portal/driver-licenses-
identification-cards/identification-id-cards/ (last visited May 8, 2025); N.Y. Dep’t of Motor
Vehicles, Driver Licenses and the Green Light Law, https://dmv.ny.gov/driver-license/driver-
licenses-and-the-green-light-law (last visited May 8, 2025) (“You cannot apply for a Non-Driver
ID Card”).




                                                30
     Case 1:25-cv-01405-UNA            Document 10-1         Filed 05/09/25      Page 38 of 53




sponsor as evidence of the ability to support the child.” 45 C.F.R. § 1202(c) (emphasis added).

The regulations plainly contemplate that sponsors are not limited to proof of employment and

income and instead can establish their ability to support the child through alternate evidence. By

requiring proof of income or employment only, ORR’s revised Policy Guide § 2.2.4 contravenes

the agency’s binding regulations and must be vacated. See Accardi, 347 U.S. at 268.

             4.    ORR’s revised identification and proof of income requirements lead to
                   unnecessary delays in release to sponsors in violation of the TVPRA and the
                   Foundational Rule

        ORR’s new policies are further contrary to law because they violate ORR’s statutory and

regulatory duties to minimize detention of children. 5 U.S.C. § 706(2)(A). As discussed above,

the TVPRA mandates that ORR promptly place children “in the least restrictive setting that is in

the best interest of the child.” 8 U.S.C. § 1232(c)(2)(A). This is usually with “a suitable family

member.” Id. Unnecessary delays in release to a suitable sponsor violate the TVPRA. See

Saravia v. Sessions, 905 F.3d 1137, 1143 (9th Cir. 2018); L.V.M., 318 F. Supp. 3d at 613-14;

J.E.C.M., 352 F. Supp. 3d at 588; cf. Ramirez v. ICE, 471 F. Supp. 3d 88, 178 (D.D.C. 2020)

(noting that DHS has greater discretion than HHS with regard to whether to release an 18-year

old but is nonetheless required to consider release to the least restrictive setting).

        In addition, the Foundational Rule requires ORR to “release a child from its custody

without unnecessary delay, in the following order of preference, to: (1) A parent; (2) A legal

guardian; (3) An adult relative,” and then to other adults or entities seeking custody. 45 C.F.R.

§ 410.1201(a). A “completed sponsor application” from parents, legal guardians, or other close

relatives must be adjudicated within 10 or 14 days, “absent an unexpected delay (such as a case

that requires completion of a home study).” 45 C.F.R. § 410.1205(b). These timelines reflect the




                                                  31
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 39 of 53




requirements of a summary judgment order and preliminary injunction against ORR in Lucas R.

v. Becerra to protect the due process rights of children to family reunification. See 89 Fed. Reg.

at 34457; Lucas R. v. Becerra, No. 18-5741, 2022 WL 2177454, at *27 (C.D. Cal. Mar. 11, 2022)

(summary judgment); Lucas R., 2022 WL 3908829, at *2 (C.D. Cal. Aug. 30, 2022) (preliminary

injunction). The Lucas R. Court later entered a final declaratory judgment incorporating its

summary judgment order. Judgment, Lucas R. (C.D. Cal. Sept. 16, 2024), ECF No. 449.

       By blocking the release of children to otherwise suitable sponsors merely because the

sponsors cannot obtain specific forms of identification or proof of income, ORR is failing to

promptly place children in the least restrictive setting and creating unnecessary delay in release.

See, e.g., Smyers Decl. ¶ 5; see also Leo B. Decl. ¶¶ 11-13, 16 (describing restrictive conditions

in shelter); Liam W. Decl. ¶ 9; Angelica S. Decl. ¶ 13; Ximena L. Decl. ¶¶ 11-12. Children such

as Angelica and Leo seeking release to their older sisters have been left with no sponsor at all,

despite their sisters being fully vetted by ORR. See Angelica S. Decl. ¶¶ 6, 8-9; Deisy S. Decl. ¶¶

6-25; Leo B. Decl. ¶¶ 3-9; see also J.E.D.M. Decl. ¶¶ 6-7 (release blocked to uncle based on new

ID policy despite submitting application, fingerprints, and home study).

       Moreover, ORR is failing to adjudicate completed sponsor applications within required

timelines by demanding that sponsors provide documentation not required by the application

form. Despite their mother’s application being indisputably complete by early March 2025, 14-

year-old Eduardo M. and his 7-year-old brother have remained in custody for two additional

months without a release decision. Rosa M. Decl. ¶ 4. Even after providing more information to

attempt to satisfy all ORR’s new requirements, Rosa’s application has been pending final ORR

approval for over 10 days. Id. ¶ 9; cf. 45 C.F.R. § 410.1205(b).




                                                 32
     Case 1:25-cv-01405-UNA           Document 10-1         Filed 05/09/25      Page 40 of 53




       ORR does not have authority to nullify its regulatory timelines by unilaterally declaring

completed sponsor applications incomplete based on new policies that were not in place at the

time the application was submitted. New generally applicable policies are not the type of

“unexpected delay” contemplated by the regulations. See 45 C.F.R. § 410.1205(b) (stating that “a

case that requires completion of a home study” is an example of an unexpected delay).

       Further contrary to the Foundational Rule’s priority for close relatives, ORR care

providers have told relatives that they cannot sponsor a child because of their lack of qualifying

identification and to instead identify any adult they know with lawful immigration status and the

correct type of identification. See Deisy S. Decl. ¶¶ 25, 28; J.E.D.M. Decl. ¶ 4.

            5.    ORR’s revised identification and proof of income requirements are arbitrary and
                  capricious

       An agency must provide “a more detailed justification than what would suffice for a new

policy created on a blank slate . . . when, for example, its new policy rests upon factual findings

that contradict those which underlay its prior policy; or when its prior policy has engendered

serious reliance interests that must be taken into account.” Fox Television Stations, 556 U.S. at

515. “[W]hen an agency rescinds a prior policy its reasoned analysis must consider the

‘alternative[s]’ that are ‘within the ambit of the existing [policy].’” Regents of Univ. of Cal., 591

U.S. at 30 (quoting State Farm, 463 U.S. at 51).

       ORR drastically changed its proof of identification and proof of income requirements

without any explanation, without waiting to lawfully update the FRA, and without any apparent

consideration for the reliance interests of sponsors and unaccompanied children, the impact on

children’s length of detention, or less burdensome alternatives to verify sponsor identity and

proof of income. These changes are arbitrary and capricious. See 5 U.S.C. § 706(2)(A).




                                                 33
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 41 of 53




       Here, ORR had a longstanding policy of accepting government-issued identification from

foreign governments and ORR has mechanisms to verify the validity of the foreign

documentation with foreign embassies and consulates and to conduct further background

investigations if there are concerns in a particular case. See Smyers Decl. ¶¶ 11-14; see also

Dorn-Lopez Decl. ¶ 10; Preamble to Foundational Rule, 89 Fed. Reg. at 34445. ORR has offered

no explanation for why it can no longer verify the identity of sponsors, household members, and

backup caregivers through documents issued by foreign governments, much less a detailed

justification. See Fox Television Stations, 556 U.S. at 515. ORR’s purported need for U.S.-issued

identification or immigration paperwork to establish identity is further undermined by its new

universal fingerprinting and DNA testing requirements, which also serve to establish identity. See

supra Section II.E, Expanded Collection of Biometric Data on Sponsors.

       ORR’s application of the new identity requirement for not only sponsors but also all adult

household members and alternative caregivers creates further unnecessary barriers to family

reunification. Rosa M., for example, was told she could not sponsor her own sons until she

identified an alternative caregiver with the right form of identification. Rosa M. Decl. ¶ 6. Sofia

W. similarly cannot sponsor her 15-year-old son Liam because her adult daughters and nephew

lack qualifying identification, even though she has provided all the documentation required by

the FRA and underwent a positive home study. Liam W. Decl. ¶¶ 4-5; Sofia W. Decl. ¶¶ 4-7.

       The agency similarly lacks justification for its changed policy related to proof of income.

ORR considered comments related to proof of income in the Foundational Rule and stated that

although employment is “a permissible consideration as part of the suitability assessment[,] . . .

ORR will not deny an otherwise qualified sponsor solely on the basis of low income or




                                                 34
     Case 1:25-cv-01405-UNA            Document 10-1         Filed 05/09/25       Page 42 of 53




employment status.” 89 Fed. Reg. at 34446. This reflects the agency’s mandate to ensure the

child’s well-being, not to police whether a sponsor has formal work authorization. See Dorn-

Lopez Decl. ¶ 9; Smyers Decl. ¶¶ 9-10. As discussed above, the regulations expressly permit

potential sponsors to provide information other than employment or income verification to

establish their ability to support the child. 45 C.F.R. § 410.1202(c). Yet the revised Policy Guide

requires proof of income as an absolute precondition for sponsorship, with no exceptions and no

provision for alternate evidence. ORR has no reasonable basis for requiring proof of income as

the sole means of establishing the financial ability to care for the child and excluding reasonable

alternate evidence such as bank statements. See Rosa M. Decl. ¶ 8. ORR also appears to have

failed to consider that in some cases another individual—such as the sponsor’s partner—may

contribute financial support to the child. See Ximena L. Decl. ¶ 10.

        ORR recognizes that its new policies will decrease the number of potential sponsors

available and increase children’s length of detention. See 90 Fed. Reg. at 17439. Despite this

acknowledgement, ORR appears to have given no consideration to whether any marginal

increase in its ability to verify sponsor identity and financial stability justifies the burden on

children’s and sponsors’ weighty interests in release and reunification. See State Farm, 463 U.S.

at 43 (action is arbitrary and capricious if the agency “entirely failed to consider an important

aspect of the problem”); see also Moore v. City of E. Cleveland, 431 U.S. 494, 504-06 (1977)

(“The tradition of uncles, aunts, cousins, and especially grandparents sharing a household along

with parents and children has roots equally venerable and equally deserving of constitutional

recognition” and “the choice of relatives in this degree of kinship to live together may not lightly

be denied by the State.”); Lucas R., 2022 WL 2177454, at *14, *25 (children in ORR custody




                                                  35
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25       Page 43 of 53




and close relative sponsors have significant constitutional interests in release and reunification);

L.V.M., 318 F. Supp. 3d at 613-14.

       Moreover, by making its policy changes effective immediately to pending applications

ORR appears to have given no consideration to the reliance interests of sponsors who have

already provided extensive personal information to ORR because they were told they were

eligible to sponsor a child. See Fox Television Stations, 556 U.S. at 515; Regents of Univ. of Cal.,

591 U.S. at 30-31. Nor did ORR appear to consider the emotional distress inflicted on children

who believed they would be reunited with family members only to learn that they may never be

released at all. See, e.g., Leo B. Decl. ¶¶ 9-14; Angelica S. Decl. ¶¶ 8-9; Rosa M. Decl. ¶¶ 8, 10-

11; Ximena L. Decl. ¶¶ 11-12.

            6.    ORR’s unapproved change in information collection is contrary to the
                  Paperwork Reduction Act

       ORR’s new sponsor requirements are also contrary to law because they violate the

Paperwork Reduction Act (PRA). The PRA provides that “[a]n agency shall not conduct or

sponsor the collection of information unless in advance of the adoption or revision of the

collection of information” it follows certain procedural requirements, including publication in the

Federal Register, an opportunity for public comment, approval by the Office of Management and

Budget (OMB), and a control number from OMB. 44 U.S.C. § 3507(a) (emphasis added). A

collection of information is defined to include identical questions or reporting requirements

imposed on 10 or more persons. 44 U.S.C. § 3502(3). PRA violations can be raised under the

Administrative Procedure Act. See Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-322, 2025 WL

452707, at *7 (D.D.C. Feb. 11, 2025).




                                                 36
    Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 44 of 53




        As discussed above, the Family Reunification Application currently in use by ORR and

approved by OMB permits a wide range of identification documents and includes no specific

proof of income requirement. See supra Section II.A, Family Reunification Application; de

Gramont Decl. Ex. 1-A. On April 25, 2025, ORR published a notice of information collection

under the Paperwork Reduction Act to revise the Family Reunification Application to match the

new requirements of ORR Policy Guide § 2.2.4. See 90 Fed. Reg. at 17438; Ex. 1-C (revised and

renamed “Sponsor Application”). Despite recognizing that it is required to follow PRA

procedures to revise its application, ORR is unlawfully enforcing specific documentation

requirements that are not contemplated in or directly contravene the operative FRA In an

analogous circumstance, the D.C. Circuit held that the Federal Communications Commission

violated the PRA when it required a cellular license applicant to provide specific evidence of a

firm financial commitment and deemed the application incomplete because the applicant’s letter

of credit did not provide all the evidence required by a collection of information that OMB had

not yet approved. Saco River Cellular, Inc. v. FCC, 133 F.3d 25, 33 (D.C. Cir. 1998). The agency

was instead required to “permit respondents to prove or satisfy the legal conditions in any other

reasonable manner.” Id. (quoting 5 C.F.R. § 1320.6(c)).

       Here, ORR must permit sponsors to establish their proof of identification and financial

ability to support the child through the reasonable means provided in the operative

OMB-approved FRA. ORR is prohibited by law from penalizing sponsors for failing to provide

the specific documentation required by the unapproved revisions to Policy Guide § 2.2.4.




                                                37
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 45 of 53




              7.   ORR’s revised identification and proof of income requirements are
                   impermissibly retroactive as applied to completed applications

       When it revised Policy Guide § 2.2.4, ORR applied the new requirements immediately,

including to completed sponsorship applications. “In the administrative context, ‘[g]enerally, an

agency may not promulgate retroactive rules without express congressional authorization.’”

Kirwa v. U.S. Dep’t of Defense, 285 F. Supp. 3d 257, 270 (D.D.C. 2018) (quoting Arkema, Inc. v.

EPA, 618 F.3d 1, 7 (D.C. Cir. 2010)). This anti-retroactivity principle applies to policy changes

and agency interpretations as well as formal rulemaking. Id. at 271; see also De Niz Robles v.

Lynch, 803 F.3d 1165, 1172 (10th Cir. 2015) (“[T]he more an agency acts like a legislator—

announcing new rules of general applicability—the closer it comes to the norm of legislation and

the stronger the case becomes for limiting application of the agency's decision to future

conduct.”).

        “A rule operates retroactively when it ‘would impair rights a party possessed when he

acted, increase a party’s liability for past conduct, or impose new duties with respect to

transactions already completed.’” Bd. of Cnty. Comm’rs of Weld Cnty. v. EPA, 72 F.4th 284, 289

(D.C. Cir. 2023) (quoting Landgraf v. USI Film Prods., 511 U.S. 244, 280 (1994)). The

retroactivity determination “should be informed and guided by familiar considerations of fair

notice, reasonable reliance, and settled expectations.” INS v. St. Cyr, 533 U.S. 289, 321 (2001)

(quoting Martin v. Hadix, 527 U.S. 343, 358 (1999)).

       Here, by demanding new documents and information as a condition of sponsorship—

contrary to longstanding policy and its own approved Family Reunification Application—ORR

imposed new duties and obligations on sponsors who had already completed their applications

and thereby harmed children by blocking their options for timely release. Rosa M. Decl. ¶¶ 3-8;




                                                 38
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 46 of 53




Sofia W. Decl. ¶¶ 4-7; Ximena L. Decl. ¶¶ 6-7. Because ORR’s new policies “contradict[] its past

practice, narrowing the range of options and altering the legal landscape” for sponsorship

applications, its refusal to consider already completed applications “is impermissibly

retroactive.” Arkema, 618 F.3d at 9; see also id. (noting that effect of new EPA rule was to “undo

what the EPA had, in practice, approved under” prior rules and was impermissibly retroactive);

Kirwa, 285 F. Supp. 3d at 271-72 (Department of Defense guidance, which changed

requirements for certification necessary for expedited naturalization, was impermissibly

retroactive as applied to service members who enlisted prior to the new guidance).

       For many sponsors who provided sensitive personal information to ORR in reliance on

the fact that they would have a fair opportunity to sponsor their child or relative, ORR’s new

requirements “would result in serious inequities . . . that are not counterbalanced by any

significant statutory interests.” Kirwa, 285 F. Supp. 3d at 272; see also St. Cyr, 533 U.S. at 324-

25 (explaining that “the presumption against retroactivity applies far beyond the confines of the

criminal law” and applies even to applications for discretionary relief where individuals relied on

prior law). Sponsors took concrete steps to comply with ORR requirements in reliance on ORR’s

prior policies, including providing personal information, submitting to fingerprinting, and in the

case of Deisy S., purchasing prenatal vitamins, a crib, and other items for her sister’s baby. See

Deisy S. Decl. ¶¶ 10, 15, 23; see also Treasure State Resource Industry Ass’n v. EPA, 805 F.3d

300, 305 (D.C. Cir. 2015).

       The retroactive application of these requirements was also arbitrary and capricious

because they were applied without regard to whether these requirements were actually necessary

to adjudicate the potential sponsor’s ability to care for the well-being of the child. See Smyers




                                                 39
     Case 1:25-cv-01405-UNA            Document 10-1        Filed 05/09/25      Page 47 of 53




Decl. ¶¶ 9-14. For example, the new proof of identification requirements was applied

retroactively to sponsors who were already thoroughly vetted, including having completed

fingerprinting and home studies. Deisy S. Decl. ¶¶ 14-16; Ximena L. Decl. ¶¶ 6-7. J.E.D.M.

Decl. ¶ 6. ORR even applied this requirement to disqualify Leo B.’s sister, despite having

previously vetted her and released Leo to her care. Leo B. Decl. ¶¶ 3, 9.

   II.      Plaintiffs are Suffering Irreparable Injury

         As a result of ORR’s unlawful polices, child Plaintiffs and the putative class are suffering

irreparable harm as they remain unnecessarily detained and separated from their families. Young

children such as Eduardo M. and his 7-year old brother have been deprived of the care and

support of their mother for months. They “cry frequently at the program” and their mother

explains that she is “desperate because I only want to be with my sons but I already provided all

the documents I have.” Rosa M. Decl. ¶ 11. Angelica S. lacks any viable sponsor because of

ORR’s changed identification and information collection and sharing policies and, absent an

injunction, will have to raise her baby alone in a restrictive congregate care environment far from

family support. Angelica S. Decl. ¶¶ 4-5, 12. She expresses that “being separated from my family

during this time, with a new baby, has been really hard for me” and “[i]t’s hard to explain how

much I want to leave this place to live with my sister.” Id. ¶ 5.

         Liam W. has been detained since January despite having a mother ready and willing to

care for him. Liam W. Decl. ¶ 2. He imagines that if he is finally released and arrives home to his

mom, “the first thing I am going to do is hug her. I am going to hug her for a really long time.

Then I just want to talk to her, about anything.” Id. ¶ 10. Xavier L. and his 13-year-old sister

have a history of trauma and are suffering from their prolonged separation from their mother and




                                                  40
     Case 1:25-cv-01405-UNA           Document 10-1        Filed 05/09/25      Page 48 of 53




the uncertainty about their release. Ximena L. ¶¶ 11-12. Leo B. was living with his sister and

attending high school in Georgia, played on the school soccer team, and hoped to graduate next

year, but is now making no educational progress and is separated from family, friends, and the

liberty he enjoyed at home. Leo B. Decl. ¶¶ 6, 10-17. He notes that “[w]hen I start to think about

what’s happening I get really sad and it affects me. All the effort I was putting into school was

for nothing.” Id. ¶ 10.

       Plaintiffs’ experiences are echoed in the experiences of other children in ORR custody

and research on the devastating effects of family separation and detention on children. See, e.g.,

Dorn-Lopez Decl. ¶ 6 (“I have met with children who were so negatively impacted by prolonged

[ORR] detention, that they struggled with deciding whether to continue to remain in a facility or

return to their home country knowing that their lives would be in danger if they were to return.”).

Researchers have found that children in prolonged immigration custody are at increased risk of

experiencing somatic symptoms of stress and trauma (e.g., headache, stomachache), as well as

difficulties with sleeping and eating.5 Even outside the context of immigration detention, child

welfare research highlights the distress children experience from family separation, especially

when they are placed in foreign cultural environments.6

       Unsurprisingly, courts have consistently found that family separation and unnecessarily

prolonged ORR detention creates irreparable injury. E.g., Jacinto-Castanon de Nolasco v. U.S.



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  M. von Werthern, et al., The Impact of Immigration Detention on Mental Health: A Systematic
Review, 18 BMC Psychiatry 382 (2018), https://doi.org/10.1186/s12888-018-1945-y (research
not specific to detention in ORR facilities); Julie M. Linton, et al., Detention of Immigrant
Children, 139 Pediatrics no. 5 (2017), https://doi.org/10.1542/peds.2017-0483.
6
  See, e.g., Maurice Anderson & L. Oriana Linares, The Role of Cultural Dissimilarity Factors
on Child Adjustment Following Foster Placement, 34 Child. and Youth Servs. Rev. 597, 597-601
(2012), https://doi.org/10.1016/j.childyouth.2011.11.016.




                                                41
     Case 1:25-cv-01405-UNA             Document 10-1        Filed 05/09/25      Page 49 of 53




Immigr. & Customs Enf’t, 319 F. Supp. 3d 491, 502 (D.D.C. 2018) (family “[s]eparation

irreparably harms plaintiffs every minute it persists.”); L.V.M., 318 F. Supp. 3d at 618 (holding

that delayed release from ORR custody “incidental to the challenged director review policy

(more than 35 days) is clearly long enough to cause irreparable harm to Plaintiffs” and noting

that “neither party questions that prolonged detention is deleterious to young children, and,

obviously, the longer the detention, the greater the harm.”); Lucas R., 2022 WL 2177454, at *33;

Saravia v. Sessions, 280 F. Supp. 3d 1168, 1200 (N.D. Cal. 2017).

   III.      Balance of Harm and Public Interest Favor Plaintiffs

          The remaining stay factors, “the harm to the opposing party and weighing the public

interest . . . merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418,

435 (2009). Here, the balance of equities and the public interest strongly favor Plaintiffs.

“[T]here is a substantial public interest ‘in having governmental agencies abide by the federal

laws that govern their existence and operations.’” League of Women Voters v. Newby, 838 F.3d 1,

12 (D.C. Cir. 2016) (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). ORR’s

IFR and new sponsor documentation requirements violate the Administrative Procedure Act in

numerous ways and conflict with ORR’s statutory mandate under the HSA and the TVPRA.

          The public also has a strong interest in the well-being of children and protecting the

constitutional right to family integrity. See Troxel v. Granville, 530 U.S. 57, 64 (2000); Moore,

431 U.S. at 504-06; see also M.G.U. v. Nielsen, 325 F. Supp. 3d 111, 124 (D.D.C. 2018) (“[T]he

public also has an interest in ensuring that its government respects the rights of immigrants to

family integrity while their removal proceedings are pending.”). The IFR sets out no justification

for denying sponsors based on immigration status and ORR’s new sponsor requirements




                                                   42
     Case 1:25-cv-01405-UNA              Document 10-1         Filed 05/09/25      Page 50 of 53




improperly presume sponsors unfit based on the lack of specific forms of documentation without

conducting a holistic review. Although the government has an interest in caring for children, this

interest “is de minimis” if their parent or other potential sponsor is in fact suitable. Stanley v.

Illinois, 405 U.S. 645, 657-58 (1972). Because ORR’s present policy is based on presumption

rather than actual evidence of unfitness and “needlessly risks running roughshod over the

important interests of both parent and child,” it is not in the public interest. Id. at 657. ORR

retains many tools to vet the safety of potential sponsors without unnecessarily preventing

release of children to loving family members and other suitable sponsors.

    IV.      Relief Requested

          Plaintiffs request that the Court provisionally certify the putative class and enter a

preliminary injunction staying the IFR and prohibiting ORR from enforcing the new

identification requirements contained in the March 7, 2025 revision of Policy Guide § 2.2.4 and

the new proof of income requirements contained in the April 15, 2025 revision of Policy Guide

§ 2.2.4. Within 10 days of the Court’s order, ORR should further be required to inform all

potential sponsors who were disqualified or denied based on the unlawful policies described here

that they may now continue with their sponsorship applications.

          Additionally, Plaintiffs and the putative class are entitled to adjudication of their

sponsors’ applications as if the unlawful requirements had not been applied to their case. See

Public Utilities Comm’n of State of Cal. v. FERC, 988 F.2d 154, 168 (D.C. Cir. 1993) (“We have

held, in a similar context, that when the Commission commits legal error, the proper remedy is

one that puts the parties in the position they would have been in had the error not been made.”);

Milliken v. Bradley, 418 U.S. 717, 746 (1974) (“[T]he remedy is necessarily designed, as all




                                                    43
     Case 1:25-cv-01405-UNA          Document 10-1         Filed 05/09/25     Page 51 of 53




remedies are, to restore the victims of discriminatory conduct to the position they would have

occupied in the absence of such conduct.”). In cases where a complete sponsorship application

was submitted and adjudication of the application was delayed because of ORR’s unlawful IFR

and unlawful revisions to its proof of identification and/or proof of income requirements, ORR

must therefore adjudicate the application according to the requirements in place at the time the

application was submitted and should be enjoined from retroactively applying any later-imposed

requirements. See 45 C.F.R § 410.1205(b) (setting timelines for adjudication of sponsor

applications).

       Such relief is especially important given ORR’s continued rollout of new sponsor

requirements and ORR’s application of its multiple new requirements to already completed

applications, which have led to significant delays and harm in Plaintiffs’ cases. See, e.g., Rosa M.

Decl. ¶¶ 4-8; Ximena L. Decl. ¶¶ 6-10. Significantly, ORR imposed new DNA testing

requirements for all related sponsors on March 14, 2025, which have caused significant delays to

children’s release. See supra-Section II.E, Expanded Collection of Biometric Data on Sponsors;

Some families have waited over a month for a DNA testing appointment. See Sofia W. Decl. ¶ 8.

Once a DNA test is done, families have then had to wait several weeks for DNA test results. See

Rosa M. Decl. ¶ 7; see also Felix Decl. ¶ 8. Moreover, ORR has not taken any steps to schedule

DNA tests for children such as Plaintiff Angelica S. and putative class member J.E.D.M., whose

sponsors were disqualified altogether by the new identification requirements and have no

exception available. See Deisy S. Decl. ¶¶ 25-26; J.E.D.M. Decl. ¶ 6. Permitting ORR to

retroactively apply new DNA and other requirements to their cases—when those requirements




                                                44
     Case 1:25-cv-01405-UNA          Document 10-1         Filed 05/09/25      Page 52 of 53




were not in effect at the time their sponsor completed their applications—would compound the

unlawful delay caused by the ORR’s invalid proof of identification and proof of income policies.

                                         CONCLUSION

       Plaintiffs respectfully request that the Court provisionally certify the putative class and

grant a preliminary injunction to remedy Plaintiffs’ significant and ongoing irreparable injuries.




May 9, 2025                           ___/s/ David Hinojosa___________

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                                                45
Case 1:25-cv-01405-UNA   Document 10-1     Filed 05/09/25     Page 53 of 53




                         * Application for D.D.C. admission pending
                         ** Pro hac vice pending
                         *** Pro hac vice forthcoming




                                  46
